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Case 8-15-73837-ast

Bl (Ofl'lcial Form l) (04/13)

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United States Bankruptcy Court
Eastern District of New York

 

Voluntary Petition

 

Name of Debtor (if individual, enter Last, First, Middle):
Hampton Transportation Ventures, Inc.

Name of Joint Debtor (Spouse) (Last, First. Middle):

 

All Other Names used by the Debtor in the last 8 years
( include manied, maiden, and trade names):
dba Hampton Luxury Liner

All Other Names used by the Joint Debtor in the last 8 years
(include married, maiden, and trade names):

 

Last four digits of Soc. Sec. or Individual-Taxpayer l.D. (lTIN) ."Complete EIN
(ifmore than one, stare nn: 264133377

Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (I'I`IN) ."Complete ElN
(if more than one, state all):

 

Street Address of Debtor (No. & StreeL City1 State & Zip Code):

1600 Locust Avenue
| ZIPCODE 11716

Street Address of Joint Debtor (No. & Street1 City, State & Zip Code):

| Z.IPCODE

 

Bohemla, NY
County of Residence or of the Principal Flace of Business:

Suffolk

County of Residence or of the Principal Place of Business:

 

Mailing Address of Debtol' (if different from street address)

 

| ZIPCODE

Mailing Address of Joint Debtor (if different from street address):

ZIPCODE

 

1600 Locust Avenue, Bohemia, NY

Location of Principal Assets of Business Debtor ( if different from street address above):

zchoDE 11 716

 

 

Chopter 15 Debtor

Type of Dehtnr Nature of Business
(Form of Organization) (Check one box.) the Pet'ltiolt la Filed (Checlc one box.)
(Ch°ck one b°x') m Health Care Business n Chapter 7 |:I Chapter 15 Petition for
[:| individual (includes Joint Debtors) [__'| Single Asset Rea] Estate as defined in l l m Chapter 9 Recognition of a Foreign
See ExhibitD on page 2 qfthisform. U.S.C. § lOl(SlB) JChapter ll Main Proceeding
MCorporation (includes LLC and LLP) |:| Railroad |:| Chapter 12 [] Chapter 15 Petition for
l:f Partnership l:] Stockbroker |:] Chapter 13 Recognition of a Foreign
I:] Other (lf debtor is not one of the above entities, I:| Commodity Broker Nonmain Proceeding
cheek this box and state type of entity below.) |:I Clearing Bank Natm.e arnest
Other (Check one box.)

Cllapter of Bankroptcy Code Under Wllich

 

Debts are primaril consumer Debts are primarily
)’

 

Counlry of debtor’s center of main interests:

 

Tax-Exempt Entlty
(Check box, if applicable.)

debts, defined in ll U.S.C. business debts.

§ ll]l(B) as “incurred by an

Each country in which a foreign proceeding by,
regardingl or against debtor is pending:

 

I:I Debtor is a tax-exempt organization under
Title 26 of the United States Code (the
Intemal Revenue Code).

individual primarin for a
personal, family, or house-
hold purpose.”

 

 

 

Filing Fee (Check one box)
grain Filing Fee attached

I:I Filing Fee to be paid in installments (Applicab|e to individuals
only). Must attach signed application for the court’s
consideration certifying that the debtor is unable to pay fee
except in installments Rule 1006(b). See Ofi'icial Form 3A.

Check if:

m Filing Fee waiver requested (Applicable to chapter 7 individuals
only). Must attach signed application for the court's
consideration See Ofl'icial l"`on'n 3B.

 

Clleck one hox:
m Debtor is a small business debtor as defined in l 1 U.S.C. § lOl($lD).
MDebter is not a small business debtor as defined in 11 U.S.C. § 101(5 lD).

\:l Debl.or’a aggregate noncontingent liquidated debts (exeluding debts owed to insiders or af'fi]iates] are less
lban $2.490,925 (amount subject re argument an 4/0]/[6 and every three years rhereaj?er').

Check all applicable boxes:

m A plan is being filed with this petition

|:\ Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
accordance With l l U.S.C. § l 126(b).

Chapter ll Debtors

 

 

 

 

 

Statistlcal/Admin|strative Information _ THIS SPACE IS FOR
EDebtor estimates that funds will be available for distribution to unsecured creditors. COURT USE ONLY
Debtor estimates that, after any exempt property is excluded and administrative expenses paid, there will be no funds available for
distribution to unsecured creditors
Estimated Number ofCreditors
l:| |:| |:l |:l |:l |:I |___|
1-49 50-99 100-199 200-999 1,000- 5 ,001- 10,001- 25,001- 50,001- Over
5,000 10,000 25,000 50,000 100,000 100,000
Estimated Assets
|:l |:| |:| l:| E |:l |:l |:| l:l |:|
$0 to $50,001 to $100,001 to $500,001 to $1,000,001 to $10,000,001 $50.000,001 to $100,000,001 $500,00(],001 More than
$50,000 $100,000 $500,000 $l million $10 million to$50 million $100 million to $500 million to $l billion $1 billion
Estimated Liabilities
l:| |:| l:| |;| E' |:l l:| |:l |:l l:|
$0 to $50,00| to $100,001 to $500,001 to $1,000,001 to $10,000,001 $50,000,001 to $100,000,001 $500,000,001 More than
$50,000 $100,000 $500,000 $l million $10 million to$50 million $lOO million to $500 million to $1 billion $1 billion

 

 

 

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Bl (Official Form l) (04/13) PaLZ
Voluntary Petition Nam° °f Deb*°'(S)= _
(T his page must be completed andjr`led in every case) Hampt°n Transp°nat'°n ventures’ l"c'
All Prior Bankruptcy Case Filed Within Last 8 Years (If more than two, attach additional sheet)
Location Case Number: Date Filed:
Where Filed:NOne
Location Case Number: Date Filed:
Where Filed: `
Pending Bankruptcy Case Filed by any Spouse, Partner or Affiliate of this Dehtnr (If more than one, attach additional sheet)
Name of Debtor: Case Number: Date Filed:
None
District: Relationship: Judge:
Exhibit A Exhibit B

(To be completed if debtor is required to file periodic reports (e.g.. forms (To be completed if debtor is an individual
lOK and IOQ) with the Securities and Exchange Cornmission pursuant to whose debts are primarily consumer debts.)
S°cn°n_ 13 °1_' l5(d) of the Se°“rmes Ex°hange A°t of 1934 and 15 I` the attorney for the petitioner named in the foregoing petition, declare
requesting rehef“nder chapter 11‘)` that l have informed the petitioner that [he or she] may proceed under

_ _ _ _ _ _ chapter 7. ll. 12. or 13 of title ll1 United States Code. and have
n Exhlblt A 15 attached and made a part of this pem'°n' explained the relief available under each such chapter. I further certify

that I delivered to the debtor the notice required by l 1 U.S.C. § 342(b).
X
Signature of Attorney for Dehtor(s) Date
Exhibit C

Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health
or safety?

|:| Yes. and Exhibit C is attached and made a part of this petition.
No

 

Exhibit D
(To be completed by every individual debtor. If a joint petition is filed. each spouse must complete and attach a separate Exhibit D.)

|:| Exhibit D completed and signed by the debtor is attached and made a part of this petition.

If this is a joint petition:
[:| Exhibit D also completed and signed by the joint debtor is attached a made a part of this petition.

 

lnt`ormation Regarding the Debtor - Venue
(Check any applicable box.)
Ef Debtor has been domiciled or has had a residence, principal place ofbusiness. or principal assets in this District for 180 days immediately
preceding the date of this petition or for a longer part of such 180 days than in any other District.

m There is a bankruptcy case oonceming debtor’s affiliate, general partner. or partnership pending in this District

|:j Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in this District,
or has no principal place of business or assets in the United States but is a defendant in an action or proceeding [in a federal or state court]
in this District, or the interests ofthe parties will be served in regard to the relief sought in this District.

 

Certitication by a Debtor Who Resides as a Tenant of Residential Property
(Check all applicable boxes.)
|:] Landlord has a judgment against the debtor for possession of debtor’s residence (If box checked, complete the following.)

 

(Name ol` landlord that obtained judgment)

 

(Address of landlord)

Debtor claims that under applicable nonbankruptcy law. there are circumstances under which the debtor would be permitted to cure
the entire monetary default that gave rise to the judgment for possession. alter the judgment for possession was entered, and

|:| Debtor has included in this petition the deposit with the court of any rent that would become due during the 150-day period after the
filing of the petition.
|:j Debtor certifies that hefshe has served the Landlord with this certification (ll U.S.C. § 362(1)).

 

 

 

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Bl (OfficialForm 1) (04/13)

PHE'

 

Voluntary Petition
U`ht`s page must be completed andfi`led in every cose)

Name of Debtor(s):
Hampton Transportation Ventures, tnc.

 

Signatures

 

Signature(s) of Debtor(s) (Individual/Joint)

I declare under penalty of perjury that the information provided in this
petition is true and correct.

[If petitioner is an individual whose debts are primarily consumer debts
and has chosen to file under Chapter 7] l am aware that 1 may proceed
under chapter 7. l l. 12 or 13 of title l l. United States Code. understand
the relief available under each such chapter, and choose to proceed under
chapter 7.

[If no attorney represents me and no bankruptcy petition preparer signs
the petition] I have obtained and read the notice required by 1 1 U.S.C. §
342(b).

l request relief in accordance with the chapter of title l l. United States
Code. speciiied in this petition.

X
X

 

Signau.ire of Deblcr

 

Signature ofJoint Debtor

 

Telephone Number (If not represented by attorney)

Signature of a Foreigo Representative

I declare under penalty of perjury that the information provided in this

petition is true and correct. that l am the foreign representative of a debtor

in a foreign proceeding. and that l am authorized to tile this petition.

(Check only one box.)

|:| I request relief in accordance with chapter 15 of title ll. United
States Code. Certiiied copies ofthe documents required by 1 1 U.S.C.
§ 1515 are attached.

[:| Pursuant to 11 U.S.C. § 15111 Irequest relief in accordance with the
chapter of title 11 specified in this petition. A certified copy of the
order granting recognition of the foreign main proceeding is attached

 

Signature of`Foreign Represeritalive

 

Printed Nairie ol'Fcreign Represerimtive

 

Date

 

Signature of Attorney*

X /s/ Michaei G. M¢: Autifre
Signature of'Attomey for Debtor(s)

Michael G. Mc Au|iffe New York
Michael Mc Au|iffe

68 South Service Rd, Suite 100
Me|vi||e, NY 11?47

(631) 465-0044 Fax: (631) 465-0045
mgmlaw@optonline.net

September 8, 2015

Date
*ln cease in which § 707(b)(4)(D) applies, this signature also constitutes a
certification that the attorney has rio knowledge arter an inquiry that the
information in the schedules is incorrectl

 

Signature of Debtor (Corporatioo/Partoership)
I declare under penalty of perjury that the information provided in this
petition is true and correct. and that I have been authorized to file this
petition on behalf of the debtor.

The debtor requests relief in accordance with the chapter of title 111
United States Code1 specified in this petition.

X /s/ william schooiman
Sig‘ialure ol'Autliorized Individual

Wi||lam Schoolman
Pririted Name of Authorized Individual

CEO
rare orAumorized individual

September 8. 2015 _

Date

 

 

Signature of Non-Attorney Petition Preparer

I declare under penalty of peijury that: l) I am a bankruptcy petition
preparer as delined in l l U.S.C. § 110; 2)1 prepared this document for
compensation and have provided the debtor with a copy of this document
and the notices and information required under ll U.S.C. §§ 110(b),
1 lO(h) and 342(b); and 3) if rules or guidelines have been promulgated
pursuant to ll U.S.C. § 110(h) setting a maximum fee for services
chargeable by bankruptcy petition preparers, I have given the debtor
notice of the maximum amount before preparing any document for filing
for a debtor or accepting any fee from the debtor, as required in that
section. OHicial Forrn 19 is attached

 

Printed Name and title, ifany, ofBankruplcy Pe|ilion Preparer

 

Social Security Number (If the bankruptcy petition preparer is riot an individual. state the
Social Security number cf the cfticer, principal, responsible person or partner of the
bankruptcy petition preparer.) (Required by ]] U.S.C. § 1 10.) '

 

Address

X

 

Signatnre

 

Date
Signsture of Bankruptcy Petjtion Prepai'er or oi!'icer, principal, responsible
person, or partner whose social security number is provided above.

Names and Soeial-Security numbers of all other individuals Who prepared or
assisted in preparing this document unless the bankruptcy petition preparer is
not an individual:

If more than one person prepared this document attach additional sheets
conforming to the appropriate official form for each person.

A bankruptcy petition preparer '.s failure to comply with the provisions of title ll
and the Federal Rule.s of Bankruptcy Procedure may result injine.r or
imprisonment or both ll U.S.C. § llO,' 18 U.S.C. § 156.

 

 

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34 (orneial Form 4) (12/07)

United States Bankruptcy Court
Eastern District of New York

IN RE: Case No.

 

Hampton Transportation Ventures, lnc. Chapter 11

Debtor(s]

LIST OF CREDITORS I~IOLDING 20 LARGEST UNSECURED CLAIMS

Fol]owing is the list of the debtor’s creditors holding the 20 largest unsecured claims. The list is prepared in accordance with Fed, R. Bankr. P. 1007(d) for filing in this
chapter l l [or chapter 9] case. The list does not include (l) persons who come within the definition of “insider" set forth in 1 l U.S.C. § lOl, or (2) secured creditors unless
the value of the collateral is such that the unsecured deficiency places the creditor among the holders of the 20 largest unsecured claims. If a minor child is one of the creditors
holding the 20 largest unsecured claims, state the ehild's initials and the name and address of the child's parent or guardian, such as "A.B., a minor ehild, by John Doe,

guardian." Do not disclose the child's name. See, ll U.S.C. §] 12 and Fed. R. Bankr. P. 1007(m).
(ll (2)

(3)

(4)

(5)

 

 

 

 

 

 

 

 

 

 

 

 

 

Name of creditor and complete mailing address Name, telephone number and complete mailing Nature of claim indicate if claim Amount of
including zip code address, including zip code, of employee, agent (trade debt, is oontingent, claim (if
or department of creditor familiar with claim bank loan, unliquidated, secured also
who may be contacted government disputed or state value of
contract1 etc.) subject to setoff security)
Smal| Business Administration 315,993.00
409 3rd St, SW
Washington. DC 20416
KCP Advisory Group Contingent 136,337.07
CIO Levenfe|d Pearlstein. LLC. Un|iquidated
2 North LaSa||e Street, Suite 1300 Disputed
Chicago, |L 60602
National lnterstate lneurance Company 53,000.00
3250 interstate Drive
Richfie|d, OH 44286
Huntington Brake & Equipment 17,395.27
179 Herricks Road
Garden City Park, NY 11040
NlC H_oldlng Corp. 13,053.47
25 Me|vi|le Park Road
Melv|lle, N¥ 11747
The Hudson Group 11,430.30
360 Merrimack Street, Bldg 9, 2nd F|oor
Lawrence, MA 01843
Bank of America 11 ,298.43
PO Box 15796
Wi|mlngton, DE 19886
BridgestonelFirestone Disputed 10,228.80
70249 Netwrok Place
Chicago, lL 60673-0249
Camerota Truck Parts Disputed 8,977.90
245 Shaker Road, PO Box 1134
Entie|d, CT 06083
CXT Heavy Col|lslon 81 Recovery, lnc. Disputed 2,980.00
99 Beaverdam Road
Be||port, NY 11713
Verizon 2,606.95
PO Box 408
Newark, NJ 07101
Acme Auto Radiator & G|ass 2,180.35
49 Car|eton Ave
|s|ip Terrace, NY 11752
1,560.89

Metro Lube
229 Ar|in¢ton Ave
Staten ls|ancl, NY 10303

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CaSe 8-15-73837-ast DOC 1

American Agip Co, lnc.
Westbury Branch

Po Box 7247-6989
Philade|phla, PA 19170-6989

The Parts Authorlty

1385 Lakeland Ave

Bohemia, NY 11716

Sai|on Auto Electric

106 Underhll| Blvd

Syosset, NY 11791

Curved G|ass Distributors

72 Chapel St

DerbLCT 06418

Brunos Automotive

945 Middle Country Rd

St James, N¥ 11780

Coach Maintenance Services lnc.
6 Oscar Street

Bayshore, NY 11706

Trans|ite Enterprlses, lnc.

107 Trumbu|l Street, K Bul|ding
E|izabeth, NJ 07206

Filed 09/08/15

Ent€red 09/08/15 11250:59

Disputed 1 ,391.70

1,053.41

1,025.19

1,015.20

931 .26

861 .00

771 .90

DECLARATION UN`DER PENALTY OF PERJU`RY ON BEHALF OF A CORFORATION OR PARTNERSHIP

I, [the president or other officer or an authorized agent of the corporation][or a member or an authorized agent of the partnership] named as the debtor
in this case. declare under penalty of perjury that I have read the foregoing list and that it is true and correct to the best of my information and belief.

Date: Soptember 8. 2015

Wllliam Schoolman, CEO

Signature: /s/ Wilir'am Schoolman

(Prim mm mt rule

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136 Summary (Oii"u:ial Forrn 6 - Summary) (121'14)

United States Bankruptcy Court
Eastern District of New York

 

 

 

 

IN RE: Case No.
Hampton Transportation Venturesl lnc. Chapter 11
Debtor(s)

SUMMARY OF SCHEDULES

lndicate as to each schedule whether that schedule' 1s attached and state the number of pages in each Report the totals from Schedules A, B D, E, F, I, and J 1n the boxes
provided Add the amounts from Schedules A and B to determine the total arnoth of the debtor’ s assets. Add the amounts of a.ll claims from Schedules D, E, and F to
determine the total amount of the debtor s liabilities Individual debtors also must complete the‘ Statistical Summar}r of Certain Liabilities and Related Data” if they tile

a case under chapter 7, 1 l, or 13.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

ATTACHED No. OF
NAME oF SCHEDULE (YEs/No) er-:Ers AssETs LIABILITIES o'rHER
A - Real Property Yes 1 $ 0.00
B - Pcrsonal Property Yes 3 $ 6,566,234.06
C - Property Clairned as Exempt Yes 1
D - Creditors Holding Secured Claims ¥es 2 $ 4,534,354.00
E - Credrtors Holdlng Unsecured Prlonty Yes 1 $ o_°o
Cla1ms mm orclarms on schedule 121
F - Creditors Holding Unsecured
Nonpriority Claims Yes 7 $ 605,087.41
G - Executory Contracts and Unexpired Yes 1
Leases
H - Codebtors Yes 2
I - Current Income of Individual No $
Debtor(s)
J - Current Expenditures of Individual N° $
Debtor(s)
TOTAL 18 $ 6,566,234.06 $ 5,139,441.41

 

 

 

 

 

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BGA (Ol'ficial Form 6A) (121'|)7)

 

IN RE Hampton Transportation Ventures, lnc. . Case No.
Debtor(s) (Ifknown)

SCHEDULE A - REAL PROPERTY

Except as directed below, list all real property in which the debtor has any legal, equitab|e, or iirture interest, including all property owned as a cotenant, community
property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for the debtor’s own benefit. if the debtor is
married. state whether the husband, wife. both, or the marital community own the property by placing an “,”H “W,” “.i," or “C" in the column labeled “Husband, Wife, Joint,
or Community.” lf the debtor holds no interest in real property, write “None" under “Description and Location of Property."

Do not include interests in executory contracts and unexpired leases on this schedule List them in Schedule G - Executory Contracts and Unexpired Leases.

If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. if no entity claims to hold a secured
interest in the property, write “None" in the column labeled “Amount of Secured Claim."

lf the debtor is an individual or if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C - Property Ciaimed as Exempt.

 

 

 

 

 

 

 

9\_§ concur vALun oF
g § DEBTUR's INTEREST lN
_ . ` NATURE 01-‘ oaarok's PsoPERTY wm-rou‘r moum' oF sscuaeo
DES°R]PT]ON AND L°CMI°N OF PROPLRTY mTEsEsr m PRoPEaTY §§ DEDUCHNG ANY CLAIM
§ 9 sacuRED cLAlM 011
g =¢ nxsw'noN
§ o
None
TOTAL o. no

 

 

 

(Report also on Summary of Schedules]

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Case 8-15-73837-ast

BGB (Offlclal Form 6B) (121'07]

IN RE Hampton Transportatlon Ventures, lnc.
Debtor(s)

` “ in the column labeled “Husband, Wife, Joint, or Community.“ lf the debtor is an individual or a

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SCHEDULE B - PERSONAL PROPERTY

Except as directed below_. list all personal property of the debtor of whatever kind. lf the debtor has no property in one or more of the categories, place an “x” in the
appropriate position in the column labeled “None.” If additional space is needed in any category, attach a separate sheet properly identified with the case name, case number,
and the number of the category. if the debtor is married, state whether the husband, wife, both, or the marital community own the property by placing an “H,” “W,“ “J," or

in Schedule C - Property Claimed as Exempt.

Case No.

 

(lf known)

joint petition is filed, state the amount of any exemptions claimed only

Do not list interests in executory contracts and unexpired leases on this scheduie. List them in Schedule G - Exeeutory Contracts and erxpired Leases.

If the property is being held for the debtor by someone else. state that person’s name and address under “Description and l_.ocation of Property.” If the property is being
held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as “A.B., a minor childl by John Doe, guardian." Do
not disclose the child's narne. See, ll U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

 

T\"PE OF PROFER'['¥

mZOZ

DESCR]PTION AND LOCAT[ON OF PROPERT\’

HUSBAND, W]`FE, J()INT.

OR (_`()MMUNITY

CURRENT VALUE OF
DEBTOR'S INTEREST lN
PROPERTY W'l'l'l-IOUT
DEDUCTING ANY
SECURED CLAIM OR
EXEMPTION

 

 

Cash on hand. x

Checking, savings or other financial
accounts, certificates of deposit or
shares in banks, savings and loan.
thrift. building and loan, and
homestead associations, or credit
unions, brokerage houses` or
cooperativesl

Security deposits with public utilities, x
telephone companies, landiords, and

Household goods and furnishings X
include audio, video. and computer
equipment

Books, pictures and other art objects, x
antiques, stamp, coin, rccord, tape,
compact disc. and other collections or
collectibles.

Wearing apparei.
. Furs and jewelry.

Firearms and sports, photographic.
and other bobby equipment

interest in insurance policies. Name
insurance company of each policy and
itemize surrender or retimd value of

10. Annuitics. ltemize and name each

. Interests in an education IRA as x
defined in 26 U.S.C. § 530(b)(i} or
under a qualified State tuition plan as
defined in 26 U.S.C. § 529(b)(l).
Give particulars (File separately the
record(s) of any such interest(s). l l
U.S.C. § SZI(c).)

Interests in IRA, ERISA, Keogh, or x
other pension or profit sharing plans.
Give particulars

. Stock and interests in incorporated x
and unincorporated businesses

12.

interests in partnerships or joint x
ventures. ltemize.

>¢ >¢><><

><

 

 

Br|dghampton National Bank Checking Account

 

 

44,366.06

 

 

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Case 8-15-73837-ast

BEB (Ofl'iclal Fnrm 6B) (12,!07] - Cont.

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IN RE Hampton Transportation Ventures, lnc. Case No.
Debtor(s) (Ifknown)
SCHEDULE B - PERSONAL PROPERTY
(Continuation Sheet)
'z`
9-_ § chRENT vALUE or-
N § § onerous iNri~:kEsr m
TYPE or raorsarv g oescalrrioN AND wci-mon oF rsoPERTY d § P'H§:;§H:B?ST
s z g sEcUREo cLAiM on
§ 5 Exl-:MrrroN
§
15 . Government and corporate bonds and x
other negotiable and non-negotiable
instruments
15_ Acmmiis receivable lntercompany Receivab|e from Affl|lated Corporation 2,518,383.00
17. Alimony, maintenanceq suppoxr, and x
property settlements in which the
debtor is or may be entitled. Give
particulars
is. other liquidated doors owed co donor X
including tax refunds. Give
particulars
19. Equitable or future interest, life x
estates, and rights or powers
exercisable for the benefit of the
debtor other than those listed in
Schedule A - Real Property.
20. Cont:ingent and noncontingent X
interests in estate of a decedent, death
benefit plan1 life insurance policy, or
trust.
21_ other contingent and unliquidated indemnification, fraud and negligence claim against JD unknown
claims of every nature, including tax Tl'anspol`fa'li°n
reii.lnds. counterclaims of.the debtor,
and rights to setoff claims. Give
estimated value of each.
22. Patents, copyrights and other x
intellectual property, Give particulars
23. Licenses, franchises, and other X
general intangibles. Give particulars.
24. Customer lists or other compilations x
containing personally identifiable
information (as denned in ll U.S.C.§
101(41A)) provided to the debtor by
individuals in connection With
obtaining a product or service from
the debtor primarily for personal,
family, or household purposes
25_ Automobi]es_ mich milam and 2007 Prevost X3-45 Coach Bus - VlN# 2PCG3349071028962 238,900.00
°the' vehicles md a°°'=“°"'e' 2007 Prevost x3-45 coach Bus - viN# 2Pc<33349511028956 238,900.00
2007 Prevosl X3-45 COaCh Bus - VlN# 2PCG3349771028943 238,900.00
2007 Prevosf X3-45 Coach BuS - VIN# 2PCGS349871020949 238,900.00
2007 Prevost X3-45 Coach Blls -'vin#2PCGSS4-9171028940 230,900.00
2007 Prevo$t X3-45 Coach Bt.ls - VIN#2PCG3349371028969 238,900.00
2007'Pl’evost X3-45 Coach Bus - VIN#ZPCG3349671020965 238,900.00
2007 Prevosf X3-45 Coach BI.IS - VlN#2PCG334-9X71729069 238,900.00
2008 Prevosf X3-45 Coach Blls - 2FC6334970C729407 266,700.00
2008 Prevost X3~45 Coach Bus - VlN# 2PCG33493BC729288 266,700.00
2008 Prevosi X3-45 Coach Bus - VlN# 2PCG3349980729392 266,700.00
2008 Pl'evosl X3-45 Coach Bus - VIN#2PCG3349XOC729398 266,700.00

 

 

 

 

 

 

 

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Case 8-15-73837-ast

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IN RE Hampton Transportation Ventures, lnc. Case No.
Debtor(s) (If` known)
SCHEDULE B - PERSONAL PROPERTY
(Continuation Sheet)
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9" d curiam vAJ.UE or
N I-“ 5 onerous rN'rEREs'riN
rer or PsoPERTY § oescair'noN AND i_ocimoN or PROPERTY § § PR§E;ESHIHTHT
13 § 3 sEcURED ci_.AiM on
§ not ExliMPrioN
§
2010 Pl'evost X3-45 COaCh Bus - VIN#2PCG33492AC729871 340,600.00
2010 Prevost X3-45 Coach Bus - VIN#2PCGSS494AC729869 340,600.00
2010 Prevost X3-45 Coach Bus - VlN#2PCG33494AC729872 340,600.00
26. Boats, motors. and accessories x
27. Aircral’r and accessories x
28_ Off]ce equipment` furnishingsl and 3 year website Certiflcate 1,185.00
S“PP]‘BS' reservation software 2,500.00
29. Machinery, iixtures, equipment, and x
supplies used in business.
30. ioveocory. X
31. Animals. X
32. Crops - growing or harvested. Give x
particulars
33. Farrning equipment and implements x
34. Farm supplies, chemicals, and feed. x
35. Other personal property of any kind x
not already listed. Itemize.
TOTAL 6,556,234.06

g continuation sheets attached

 

 

 

(Include amounts from a.ny continuation sheets attached.
Report total also on Summary of Schedules.)

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B6C (Ofilcial Form 6C) [04/13)

 

 

IN RE Hampton Transportation Ventures, lnc. Case No.
Debtor(s] (lf known)
SCHEDULE C - PROPERTY CLAIMED AS EX.EMPT
Debtor elects the exemptions to which debtor is entitled under: I:[ Check if debtor claims a homestead exemption that exceeds $155,675. ”
(Check one box)

|:| 11 U.S.C. § 522(b)(2)
|:|11 U.S.C. § 522(b)(3)

 

CURRENT VALUE
t . ‘ , vALus or cLAIMED 01= PROPERTY
ocsmnvnon or PsoPEsTY specle mw rsovmmo EACH pxi:MrnoN ExEMmoN WH.HOUT DEDUCTING
ExEMPTrONs

 

Not Applicable

 

 

 

 

 

 

* Amount subject to adjustment an 4/1/] 6 and every three years thereafter with respect to cases commenced on or after the date ofacy’usrmem.

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B6D (Ol'licial Form GD) (12."07)

IN RE Hampton Transportation Ventures, lnc. Case No.
Debtor(s) (If known)

SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS

State the name, mailing address, including zip code, and last four digits of any account number of all entities holding claims secured by property of the debtor as of the
date of iiling of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if
the debtor chooses to do so. List creditors holding all types of secured interests such as judgment liens, gamishments. statutory liens, mortgages, deeds of trust, and other

security interests

List creditors in alphabetical order to the extent practicable If` a minor child is the creditor, state the child's initials and tbe name and address of the child‘s parent or
guardian1 such as “A.B., aminor child, by John Doe, guardian." Do not disclose the child's name. See, ll U.S.C. § l l2 and Fed. R. Bankr. P. 1007(m). lf all secured creditors
will not fit on this page, use the continuation sheet providedl

 

It` any entity other than a spouse in a joint case may be jointly liable on a claim, place an “X" in the column labeled “Codebtor,” include the entity on the appropriate
schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is iiled, state whether the husbaud, wife, both ofthern, or the marital community may be liable
On each claim by placing an “H,” “W,” “.T," or “C“ in the column labeled “Hu.sband, Wife, Joint, or Community."

If the claim is contingent, place an “X" in the column labeled “Contingent.” ll` the claim is unliquidated, place an “X” in the column labeled “Unliquidated.” If the claim
is disputed, place an “X" in the column labeled “Disputed." (You may need to place an “X" in more than one of these three columns.)

Total the columns labeled “Amount of Claim Without Deducting Value of Collateral” and “Unsecured Portion1 if Any” in the boxes labeled “Total(s)” on the last sheet
of the completed schedule Report the total from the column labeled “Amount of Claim Without Deducting Value of Collateral” also on the Summary of Schedules and,
if the debtor is an individual with primarily consumer debts, report the total from the column labeled “Unsecured Portion, if Any" on the Statistical Summary of Certain

Liabilities and Related Data.
|:| Check this box if debtor has no creditors holding secured claims to report on this Schedule D.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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Z. Q
cREDrros's NAME AND MAILING ADDREss E 55 D oATE cLAlM was lNCuRRED. §§ § m cI.AIM wITHoUT UNSECURED
lNCLUDING ZlP CODE AND ACCOU'NT NUMBER. § §_ § NATURE OF LlE'N, AND DESCRIPTTO`N AND W\LUE UF § 5 § DEDUC.’I`].`NG PGRTION "_. ANY
(See Insmrcrtonr A'bove.} D cl 5 PROPERTY SUBJECT 'DO LlEN z g g VALUE OF '
8 § § 8 § D COLLATERAL
3 0 D
§
ACCoUNT No_ security agreement X 1,264,620.00
ACM Riverhead V, LLC.
78_0 Third Ave, 27th F|oor
New ¥ork, N¥ 10017
vALUE s 3,999,800.00
ACCOUNT NO. security agreement X 196,569.00
ACM Rlverhead V, LLC.
780 Third Ave, 27th Floor
New York, NY 10017
vALUE $ 3,999,800.00
ACCOUNT NO. security agreement X 773,165.00 534,554.00
ACM Riverhead V, LLC.
780 Third Ave, 27th F|oor
New Yorkl NY 10017
VALUE $ 3,999,800.00
AccouNT No_ X J security agreement X 1,100,000.00
Big Shoulders Capital, LLC.
105 Revere Drive, Suite D
Northbrook, lL 60062
vALUE $ 2,327,500.00
Subcocal
1 continuation sheets attached (Total of this page) $ 3,334,354.00 $ 534,554.00
Totul
(Use only on last page) $ $
(chort also on (lfapplicable, report
Sum:mary ol' also on Statistical
Schednlc.s.) Su.mmary ol'Certain

l_iahil`lies and Rclatod
Data.)

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Case 8-15-73837-ast

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IN RE Hampton Transportation Ventures, lnc. Case No.
Debtor(s) (If lmown)
SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
(Cootinuation Sheet)
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Q. >‘ [_ c
§ ut§ z ii g AMouNT or
CREDITUR'S NAME AND M!\ILlNG ADDRESS 1_ h § DATE (`L!\lM WAS IN'(`URRED‘ 3 § E CLAIM WITHOUT UNSE'cURED
INCLUDING ZlP CODE AND ACCOUNT NUMBER‘ § 3 2 NA'|'URI! UF LIEN. AND DESCRIPTION AND VALUE OF Z 5 L DEDUCTl'NG PORTION IF ANY
(Sce imrnu.'u'ons Abow.j 3 d p PROPERTY SUB.IECT TO LIEN § g § VALUE OF `
o z ~' o § D coLLA'rt-:RAL
ss s =
:t
.'.i:
ACCOUNT No. Assignee or other notification for:
MB Financia| Bank Blg Shoulders Capital, LLC.
6111 North River Road
Rosemont, iL 60018
vALUE $
ACCOUNT NO_ X J security agreement X 1,200,000.00
Big Shou|ders Capita|, LLC.
105 Revore Drivel Suite D
Northbrookl lL 60062
VALUE $ 2,327,500.00
ACCOUNT NO.
vALUE $
ACCOUNT NO.
vALUE $
ACCOUNT NO.
VALUE $
ACCOUNT NO.
VALUE $
Sheet no. 1 of 1 continuation sheets attached to Subtotal
Schedule of Creditors Holding Secured Claims (T oral of this page) $ 1,200.000.00 $
Total `
(Use only on last page) $ 4,534,354.00 $ 534,554.00
(Report also on (lf`applicah|e, report
Sunmiary of also on Siaiis|.ical
Schedules) Summury ofCertain

Liabilities and Related
Dam.)

 

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sss roman norm sc) (04;13)

IN RE Hampton Transportation Ventures, lnc. Case No.
nebmr(s) (rf known)

SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS

A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of unsecured claims entitled to
priority should be listed in this schedule ln the boxes provided on the attached sheets, state the name, mailing address, including zip code, and last four digits of the account
number, if any, of all entities holding priority claims against the debtor or the property of the debtcr, as of the date of the filing of the petition. Use a separate continuation
sheet for each type of priority and label each with the type of priority.

 

The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do so.
lf a minor child is a creditor, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do
not disclose the child's name. See, ll U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled “Codebtor," include the entity on the appropriate
schedule of creditors, and complete Schedule H-Codebtors. lf a joint petition is tiled, state whether the husband, wife, both of them. or the marital community may be liable
on each claim by placing an "H," "W," ".l," or "C" in the column labeled “Husband. Wife, Joint, or Community." Ifthe claim is contingent, place an “X" in the column labeled
"Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated.“ If the claim is disputed, place an "X" in the column labeled "Disputed." (You
may need to place an "X" in more than one of these three columns.)

Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this Schedule E in the box labeled “Total”
orr the last sheet of the completed schedule Report this total also on the Summary of Schedules.

Report the total of amounts entitled to priority listed orr each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts entitled to priority listed
on this Schedule E in the box labeled “Totals" on the last sheet of the completed schedule lndividua| debtors with primarily consumer debts report this total also on the

Statistical Summary of Certain Liabilities and Related Data.

Report the total of amounts n_ot entitled to priority listed on each sheet in the box labeled “Subtotals" on each sheet Report the total of all amounts not entitled to priority
listed on this Schedule E in the box labeled “Totals” on the last sheet ofthe completed schedule Individual debtors with primarily consumer debts report this total also on

the Statistical Summary of Certain Liabilities and Related Data

MCheck this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets]

|:| Domcstic Support Obligations
Claims for domestic support that are owed to or recoverable by a spouse` former spouse. or child of the debtor, or the parent. legal guardian, or

responsible relative of such a child. or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in ll
U.S.C. § 507(&)(1]_

[:| Extensions of credit in an involuntary case
Claims arising in the ordinary course of the debtor’s business or financial affairs alter the commencement ofthe case but before the earlier of the
appointment of a trustee or the order for relief. ll U.S.C. § 507(a)(3).

|:| Wages, salaries, and commissions
Wages, salaries. and commissions including vacation. severance and sick leave pay owing to employees and commissions owing to qualifying
independent sales representatives up to $12,475 * per person earned within 180 days immediately preceding the filing of the original petition, or the
cessation of business, whichever occurred frrst, to the extent provided in 11 U.S.C. § 507(3)(4).

l:| Contributions to employee beneiit plans
Money owed to employee benefit plans for services rendered within 180 days immediater preceding the filing of the original petition. or the

cessation ofbusiness, whichever occurred iirsL to the extent provided in ll U.S.C. § 507(a)(5).

[:| Certain farmers and fishermen
Claims of certain farmers and fishermen1 up to $6.150* per farmer or lisherman. against the debtor, as provided in ll U.S.C. § 507(a)(6).

l:| Deposits by individuals
Claims of individuals up to $2.775* for deposits for the purchasc. lease, or rental of property or services for personal_. family, or household use, that

were not delivered or provided. l l U.S.C. § 507(a)(7).

I:I Taxes and Certain Other Debts Owed to Governmental Units
Taxes, customs duties. and penalties owing to federal, state. and local governmental units as set forth in 11 U.S.C. § 507(a)(8).

|:I Commitments to Maintain the Capital of an lnsured Depository Institution
Claims based on commitments to the FDIC. RTC. Director of the Oflice ofThrift Supervision. Comptroller of the Currency, or Boa.rd ofGovemors

of the Federal Rescrve Systern. or their predecessors or successors. to maintain the capital of an insured depository institution. l l U.S.C. § 507 (a)(9).

f:| Claims for Death or Personal Injury While Debtor Was Intoxicated
Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using alcohol,

a drug, or another substance ll U.S.C. § 507(a](10}.

* Amounts are subject to adjustment on 4/01/] 6, and every three years thereaiter with respect to cases commenced on or after the date ofadjustment.

o continuation sheets attached

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IN RE Hampton Transportation Ventures, lnc. Case No.
Debtor(sl (If known)

SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS

State the name, mailing address, including zip code, and last four digits ot` any account number, of all entities holding unsecured claims without priority against the debtor
or the property of the debtor. as of the date of filing ofthe petition. The complete account number of any account the debtor has with the creditor is useful to the trustee and
the creditor and may be provided if the debtor chooses to do so. lf a minor child is a creditor, state the child's initials and the name and address of the child's parent or
guardian. such as “A.B.\ aminor child, by John Doe, guardian." Do not disclose the child's name. See. l l U.S.C. §112 and Fed. R. Bankr. P. 1007(m). Do not include claims
listed in Schedules D and E. If all creditors will not iit on this page, use the continuation sheet provided.

 

If any entity other than a spouse in a joint case may be jointly liable on a claim1 place an “X" in the column labeled “Codebtor,“ include the entity on the appropriate
schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is liled, state whether the husband, wife, both ofthem, or the marital community may be liable
on each claim by placing an °‘H." “W,” “J," or “C“ in the column labeled “Husband, Wife, Joint. or Community."

If the claim is contingent place an “X" in the column labeled “Contingent." If the claim is unliquidated, place an "X" in the column labeled “Unliquidated." lf the claim
is disputed, place an “X“ in the column labeled “Disputed.” (You may need to place an “X" in more than one of these three columns.)

Report the total of all claims listed on this schedule in the box labeled “'l`ocal“ on the last sheet of the completed schedule Report this total also on the Summary of
Schedules and, if the debtor is an individual with primarily consumer debts, report this total also on the Stan`stica.l Summary ofCerta.in Liabilities and Related Data.

\:\ Check this box if debtor has no creditors holding unsecured nonpriority claims to report on this Schedule F.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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lNCLUDING ZIP CODE. AND AC'COUNT Nlll\JlBERA g § § (_‘ONS[DERAT[ON FOR CLAIM. IF CLAIM lS § 5 § OF
fS¢€ In.rfruc!l'rm.\' Ahnvc.) n § 0 SUEIECT T() SETOFF. SU STA'!`E z g g CLAIM
8 ¢= § 8 ._'l n
s 0 §
:!
m
ACCOUNT NO. Auto Service
Acme Auto Radiator & Glass
49 Carleton Ave
|s|ip Terrace, NY 11752
2,180.35
ACCOUNT NO. Auto Service
Action Tire Retreaders
40 Brook Ave
Deer Park, NY 11729
356.54
ACCOUNT NO. Auto Service X
American Agip Co, lnc.
Westbury Branch
Po Box 7247-6989
Philadelphia, PA 19170-6989
1,391.70
ACCOUNT NO. l.ltility
American Telephone Company
PO Box 1465
Melville, NY 11747
437.57
Subvoerl
6 continuation sheets attached (Total of this page) $ 4,366-16
Total
(Use only on last page of the completed Schedule F. Report also on
the Summary of Schedules s.nd, if applicable, on the Statistical
Summary of Cermin Liabilities and Related Data.) $

 

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Case 8-15-73837-ast

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IN RE Hampton Transportation Ventures, lnc.
Debtor(s)

SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
(Continuation Sheet)

Case No.

 

(If known)

 

(Sec lmmtcrions Above.}

CREDITOR'S NAME. MAILING ADDRESS
lNCLUDlNG ZIP CODE. AND ACCOUNT NUMBER.

CODEBTOR
HUSBAND, WIFE, .I'OINT,
01 (.OMMUNITY

DATE CLAIM WAS l'NCURRED AND
CONSIDERATION FOR CLMM. IF CLAIM IS
SUBJ`ECT TO SETOFF, SO STATE

CON I IN GE`NT
UNLIQUIDATED
DISPU‘] ED

AMOU'NT
OF
CLAIM

 

ACCOUNT NO.

 

Atlantlc City Transport, Corp.
1501 N Alhany Ave
At|antic City, NJ 08401

permits

26.01

 

ACCOUNT NO.

 

Bank of America
PO Box 15796
Wilmington, DE 19886

Business Credlt Card

11 ,298.43

 

ACCOUNT NO.

 

BridgestonelFlrestone
70249 Netwrok place
Chtcago, |L 60673-0249

auto service

10,228.80

 

ACCOUNT NO.

 

Brunos Automotive
945 Middle Country Rd
St James. NY 11780

Auto Service

931 .26

 

ACCOUNT NO.

 

Camerota Truck Parts
245 Shaker Road, PO Box 1134
Enf'leld, CT 06083

Auto Service

8,977.90

 

ACCOUNT NO.

 

6 Oscar Street
Bayshore, NY 11706

Coach Maintenance Services lnc.

auto service

861.00

 

ACCOUNT NO.

 

Coach Transit Components
103 South Nashvil|e Ave
Or|ando, FL 32805

 

 

 

auto serive

 

 

 

 

446.81

 

Sheet no. 1 of 6 continuation sheets attached to
Schedule of Creditors Holding Unsecured Nonpriority Claims

Subtotal
(Total of this page)

Total

(Use only on last page of the completed Schedule F. Report also on
the Summary of Schedules, and if applicable, on the Statistical
Summary of Certain Liabilities and Related Data.)

32,770.21

 

 

 

 

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IN RE Hampton Transportatlon Ventures. lnc. Case No.
Debtor(s) (If known)
SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
(Continuation Sheet)

 

CREDITOR'S NAME. MAlLING ADDRESS
INCLUDl'NG ZIP CODE. AND ACC()UNT NUMBER.
(Sm inso‘trct.|an.r Aba\'c.}

CODEBTOR
I-iUSHr|\NDl W[FE. IOI'NT,
OR (. OMM'UN[ l Y

DATE CLAIM WAS 1'NCURRED AND
CONSIDERA'HON FOR CLAIM. IF CLAIM lS
SUBJECT TO SETOFF. 50 STATE

CON lN(JENT
UN`L[QUIDATED
DIS PUTED

AMOUNT
CLAIM

 

ACCOUN`[` NO.

 

Curved G|ass Distributors
72 Chapel St
Derby, CT 06418

Auto Servlce

1.015.20

 

ACCOUNT NO.

 

CXT Heavy Col|ision & Recovery, lnc.
99 Beaverdam Road
Be|lport, NY 11713

Auto Service X

2,980.00

 

ACCOUNT NO.

 

Eagle Wire|ess Communication
15 Windspr Pass, Suite 1
Horsham, PA 19044

GPS Service

409.20

 

ACCOUNT NO.

 

Gabrlelll Truck Sa|es, Ltd
3200 Horseb|ock Road
Medford, NY 11763

auto service

35.42

 

ACCOUNT NO.

 

Grainger
Dept 817229479
Pa|atine, |L 60038-0001

auto service

690.17

 

ACCOUNT NO.

 

Huntington Brake & Equipment
179 Herricks Road
Garden City Park, NY 11040

auto service

17,395.27

 

ACCOUNT NO.

 

JJ Ke||er & Assoc|ates
PO Box 6609
Carol Stream, lL 60197

 

 

 

 

office services

 

 

 

326.03

 

Sheet no. 2 of 5 continuation sheets attached to
Schedule of Cl'editol‘s Holding Unsecured Nonpriority Claims

 

 

Subtotal

(Total of this page)

Total

(Use only on last page of the completed Schedule F. Report also on

the Summary of Schedules, and if applicable, on the Statistical
Summary of Certain Liabilities and Related Data.)

22,851.29

 

 

 

 

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IN RE Hampton Transportation Ventures, lnc. Case No.
Debtor(s) (lf known)

SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
(Continuation Sheet)

 

 

DATE CLMM WAS l'NCURRED AN`D AMOUNT

CONSIDERATION FOR CMJM. IF CLA.IM IS
SUBJECT TO SET()FF. 80 STATE

CRED]TUR’S NAM[". MAILING ADDRESS
lNC`LUDING ZIP CODE. AND ACCOUNT NUMBER.

(Sc'e instructions Ahm’e.} CLAIM

CODEBTOR.
HUSBJ\ND, W'[FE, .l'OlNT,
OR (.OMM[)NI'I`Y
CONTINGENT
U`NL[QU!DATED
DISPUTE|J

2

 

><
>¢
><

ACCOUNT NO. X F|nancia| Advisors - March, 2014

KCP Advisory Group

CIO Levenfe|d Pear|stein, LLC.

2 North LaSalle Street, Suite 1300
Chicago, iL 60602

 

136.337.0?

 

ACCOUNT NO. auto service

Long island Hardware
4155 Veterans H|ghv\lrayl Suite 9
Ronkonkoma, NY 11779

 

221 .02

 

ACCOUNT NO. office equipment

Loyal Business Machines
980 Sunrise nghway
West Babyion, NY 11704

 

438.17

 

ACCOUNT NO. auto service

Metro Lube
229 Ar||ngton Ave
Staten ls|and, NY 10303

 

1,560.89

 

ACCOUNT No. driver medical services

Mtd-|s|and Medical Center
3279 Veterans Memoria| Highway, Suite 5
Ronkonkoma, N¥ 11779

 

200.00

 

ACCOUNT N0,7012 X J insurance policy

Nationa| Interstate insurance Company
3250 interstate Drive
Richfie|d, OH 44286

 

53.000.00

 

ACCOUNT NO. utility bill

New Horizon Communlcation Corp.
PO Box 981073
Boston, MA 02298

 

 

 

 

 

 

 

228.40

 

 

Sheet no. 3 of 6 continuation sheets attached to Subtotal
Schedule of Creditors Holding Unsecured Nonpriority Claims (Totai of` this page) $ 191,985.55
Total
(Use only on last page of the completed Schedule F. Report also on
the Summary of Schedules, and if applicable, on the Statistical
Summary of Certain Liabilities and Related Data.)

 

 

 

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IN RE Hampton Transportation Ventures, lnc. Case No.
Debtor(s) (If tmown)
SCHEDULE F - CREDITORS HOLDlNG UNSECURED NONPRIORITY CLAIMS
(Continuation Sheet)
E'
9 § 52 3
. s g '-'-7 5 l_l §§ n
CREDITORS NAME, MAlL[N(J ADDRESS E. ”~ § DATE CLAIM WAS lNCURRED AND 5 n E AMOUNT
INCLUDING Zli’ CODE. AND AC(_`OUNT NUMBER. m ;_ 2 CONS]DERAT]ON FOR CLAIM. lF CLAIM lS Z 5 m OF
rseelnsmn-:inn.vaa\w.} § § o sUBIECT To sETOFF, so sT.-\TE § g g CLAIM
\J c § 8 § o
§ 0 3
§
ACCOUNT NO. Disaster Asslsta rice Loan
New York Business Developrnent Corp.
50 Beaver Street
A|bany, NY 12207
4,200.00
ACCOUNT NO.
Newsday Media Group
235 Pinelawn Road
Me|vil|e, NY 11747
41 .50
ACCOUNT NO. fuel
NlC Holding Corp.
25 Me|viile Park Road
Me|vil|e, NY 11747
13,053.47
ACCOUNT NO. auto service
Northeast Automotive Equipment Service
80 Pau|s Path
Coram, NY 11 727
125.00
ACCOUNT NO. utility
Opte| Business Communications
PO Box 180
Nesconset, N¥ 11767
485.57
ACCOUNT NO, garbage service
Planet Earth Recyc|ing
3280 Sunrise Hwy #303
Wantagh, NY 11793
96.25
ACCOUNT NO. auto service
Sai|on Auto E|eetric
106 Underhi|| Blvd
Syosset, N‘{ 11791
1 ,025.19
Sheet no. 4 of 6 continuation sheets attached to Subtotal
Schedule of creditors Holding unsecured Nonprinriry claims meal of this page) s 19,026.98
Total
(Use only on last page of the completed Schedule F. Report also on
the Summary of Schedules, and if applicab|e, on the Statistical
Summary ofCertain Liabilities and Related Data.) $

 

 

 

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Case 8-15-73837-ast

B6F (Ofl"'lcia| Form 6F) (12I07) - Cont.

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IN RE Hampton Transportation Ventures, lnc.
Debtor(s)

SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS

Case No.

(Continuation Sheet)

 

(lf known)

 

CREDITUR'S NAME. MAILING ADDRESS
TNCLUDING ZIP CODE. A`ND ACCOUNT N'UMBER,
fSee [n.rrnrc!imr.\' Ahcrve.)

CODEBTOR
HUSEAN|J, W[FE, IOINT.
OR (.UMMUNI'I"(

DATE CLAIM WAS INCURRED AND
CONSIDERAT[ON FOR CLAIM. IF CLAJM IS
SU`BJECT TO SET()FF. SO STATE

CONT[NGENT
UNLIQUIDA [ ED

DISFUTED

AMOUNT
OF
CLAIM

 

ACCOUNT NO.

 

Shopserve, |nc
26 Carrington Dr
East Northport, NY 11731

303.85

 

ACCOUNT NO.

 

Sma|l Business Administration
409 3rd St, SW
Washington, DC 20416

loan

315,993.00

 

ACCOUNT NO.

 

Sprlnt
PO Box 888
Hicksvi|le, NY 11802-0888

wifi service

447.90

 

ACCOUNT NO.

 

The Hudson Group
360 Merrimack Street, B|clg 9, 2nd F|oor
Lawrence, MA 01843

computer software

11,430.30

 

ACCOUNT NO.

 

The Parts Authority
1385 Lake|and Ave
Bohemia, NY 11716

auto service

1,053.41

 

ACCOUNT NO.

 

Trans|ite Enterprlses, lnc.
107 Trumbu|l Street, K Bulldlng
Elizabeth, NJ 07205

auto service

771.90

 

ACCOUNT NO.

 

Unifirst Corporation
50 Carnatiorl Ave. B|dg 5
Floral Park, NY 10010

 

 

 

uniforms

 

 

 

 

234.03

 

Sheet no. 5 of 6 continuation sheets attached to

 

Schedule of Creditors Holding Unsccurcd Nonprion'ty Claims

Subtota]
(Total of this page)

Totaf

(Use only on last page of the completed Schedule F. Report also on
the Summary of Schedulcs, and if applicable, on the Statistical
Summary of Certain Liabilities and Related Data.)

$ 330,234.39

 

 

 

 

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IN RE Hampton Transportation Ventures, lnc. Case No.
Debtor(s) (If known)
SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
(Continuation Sheet)
l_w
§: § §
z _ _
cREDrroR's NAME MAILlNG ADDREss 2 § § DATE cLAlM wAs lNcuRRci) AND §§ § § AMOUNT
lNcLumNG zlP coDE. AND AccouNr NUMBER. 3 § § ooNsIDERATioN 1=011 cLAIM. n-' cLAIM rs 5 § oF
(See Inxc-ucrr'om.»lbavc'-_J 3 § 8 SUB}ECT TO SE.TOFF. 50 STATE § 9 § CLAIM
" §§ 3 § °
§
31
ACCOUNT NO. auto service
Van Buren Automotive Transmission Works
10 lndustria| Blvd
Medford, NY 11763
379.29
ACCOUNT NO. telephone service
Verizon
PO Box 408
Newark, NJ 07101
2,606.95
ACCOIJNT NO. office supplies
Village Office Supply
600 Apgar Drive
Somerset, NJ 00073
246.59
ACCOUNT NO. software
World |nformation Systems, LLC
624-F Guilford Co|lege Road
Greensboro, NC 27400
620.00
ACCOUNT NO.
ACCOUNT NO.
ACCOUNT NO.
Sheet no. 6 of 6 condonation sheets attached to Subtota|
Schedule of Creditors Holding Unsccured Nonpriority Claims (Total of this page) $ 3,852.83
Tota]
(Use only on last page of the completed Schedule F. Report also on
the Summary of Schedules, and if applicable, on the Statistica.l
Summary ochrtain Liabilities and R.elated Data.) $ 605,087.41

 

 

 

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BGG (Officiai Form 6G) (12:'07)

IN RE Hampton Transportat|on Ventures, lnc. Case NO.
Debwr(s) (If known)

SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES

Describe all executory contracts of any nature and ali unexpired leases of real or personal property, include any timesha.n: interests State nature ot' debtor’s interest in
contract1 i.e., “Purchaser," “Agent," etc. State whether debtor is the lessor or lessee of a lease. Provide the names and complete mailing addresses of ali other parties to each
lease or contract described If a minor child is a party to one of the leases or connacts, state the child's initials and the name and address of the child's parent or guardian,
such as "A.B., a minor child, by .Iohn Doe, guardian." Do oct disclose the child's name. See, ii U.S.C. §112 and Fed. R. Banicr. P. 1007(m).

 

|:l Check this box if debtor has no executory contracts or unexpired ieases.

 

DESCRIPTION OF CONTRACT OR LEASE AND NATUR.E OF DEBTOR‘S M'EREST.

 

ama mo nanth AoDnsss mcLumNo zn» conn
' srer wnnrnsa LEAsE ls ron NoNREsmEN'nAL REAL PRoPerv.
OF mR FARTIES m LEASE °R CUNTM"T s'rA'rs Comch NUMBER oF ANY covsRNMENT coN'raAc'r.
1600 Locust Avenue Associates, lnc. Commercial Lease Agreament for Premesis

1600 Locust Avonue
Bohemial NY 11716

NlC Holding Corp. fuel contract
25 Me|vii|e Park Road
Me|vi|iel NY 11747

William Schoo|man
1600 Locust Ave
Bohemla, NY 11716-0000

National interstate insurance Company insurance
3250 interstate Drive
Rlchfield, OH 44_286
Hampton Luxury Liner Advertis|ng, LLC. obligation to share advertising revenue
1600 Locust Ave
Bohemia, NY 11716
World information System repair shop software
624-F Gui|ford Co|lege Rd.
Greensboro, NC 27400
Rai|y Bus transportation contract
65 East 55th Street, 23rd Floor
New York, NY 10022

 

 

 

 

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B6H (Omciai Forrn 6H) (12/07)

IN RE Hampton Transportation Ventures, lnc. Case No.
Debtor(s) (Ifknown)

SCHEDULE H - CODEBTORS

Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed by the debtor in the schedules
of creditors. include all guarantors and co-signers. if the debtor resides or resided in a community property state, commonwealthl or territory (inciuding Aiaska. Arizuna,
Ca]if`omia, idaho` louisiana. Nevada, New Mexico, Puerto RiCO, Texas, Washington. or Wisconsin) within the eight-year period immediately preceding the commencement
ofthe case. identify the name of the debtor’s spouse and of any former spouse who resides or resided with the debtor in the community property state, commonwealthq or
territory. include ali names used by the nondebtor spouse during the eight years immediately preceding the commencement of this case. If a minor child is a codebtor or
a ereditor, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's
name. See, ii U.S.C. §l 12 and Fed. R. Banlcr. P. lOl]'r'(m).

 

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|:| Check this box if debtor has no codebtors.

 

NAME AND ADDRESS OF C()DEBTOR

NAME AND ADDRESS OF CREDITOR

 

1600 Locust Avenue Associates, lnc.
1600 Locust Avenue
Bohemia, N‘l' 11716

7Bus
1600 Locust Ave
Bohemia, NY 11716

Better Options For Livab|e Transit, LLC.
1600 Locust Ave
Bohemia, N\' 11716

Schooiman Transportation System, lnc.
1600 Locust Ave
Bohemia, N¥ 11716

Wi|liam Schooiman
1600 Locust Ave
Bohemia, NY 11716

 

KCP Advisory Group

CIO Levenfeld Pearistein, LLC.

2 North LaSa||e Street, Suite 1300
Chicago, |L 60602

Nationai interstate insurance Company
3250 interstate Drive
Richfieidl OH 44286

KCP Advisory Group

ClO Levenfeld Pear|stein, LLC.

2 North LaSa||e Street, Suite 1300
Chicago, lL 60602

Nationa| interstate Insurance Company
3250 interstate Drive
Richfield, OH 44286

KCP Advisory Group

CIO Levenfeld Pear|stein, LLC.

2 North LaSalle Street, Suite 1300
Chicago, |L 60602

Nationa| interstate insurance Company
3250 interstate Drive
R|chfie|d, OH 44286

KCP Advisory Group

C.‘O Levenfeld Peariste|n, LLC.

2 North LaSaiie Street, Suite 1300
Chicago, iL 60602

Big Shoulders Cap|tai, LLC.
105 Revere Drive, Suite D
Northbrook, iL 60062

Big Shoulders Capita|, LLC.
105 Revere Drive, Suite D
Northbrook, |L 60062

National interstate insurance Company
3250 interstate Drive
Richfie|d, OH 44286

Big Shoulders Capita|, LLC.
105 Revere Drive, Suite D
Northbrookl |L 60062

Big Shoulders Capital, LLC.
105 Revere Drive, Suite D
Northbrooitl iL 60062

National interstate insurance Company

 

 

 

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i,"t` RE Hampton Transportatlon Ventures. lnc. Case No_
Debtor(s) (If known)

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t(_`.nniinuation Sherti

 

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iziodntarstate Drive
Rit:hl'ielr:il GH MEEG

 

 

 

 

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86 Deciaraiiun (Ofi'iciai Forrn 6 - Declaration) (12.107)

IN RE Hampton Transportation Ventures, lnc. Case No.
Debtor(s) (If known)

DECLARATION CONCERNING DEBTOR'S SCHEDULES

 

DECLAR.ATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR

I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of sheets, and that they are
true and correct to the best of my knowledge, information, and belief.

 

Date: Signature:
Debtnr

Date: Signature:

 

(Joirlt Debiur. ii'anyl
[If joint case, both spouses must sign.]

 

DECLARATION AND SIGNATURE OF NON-ATTORNEY `BANKRUPTCY PETI'HON PREPARER (S ee l l U.S.C. § I 10)

I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as defined in ll U.S.C. § 110; (2) I prepared this document for
compensation and have provided the debtor with a copy of this document and the notices and information required under 1 l U.S.C. §§ l lO(b), l lO(h),
and 342 (b); and. (3) if rules or guidelines have been promulgated pursuant to l l U.S.C. § 110(h) setting a maximum fee for services chargeable by
bankruptcy petition preparers, I have given the debtor notice of the maximum amount before preparing any document for filing for a debtor or accepting

any fee fi'om the debtor. as required by that section.

 

 

Printed or Typed Name and Title, if any, of Bankruptcy Petition Preparer Social Security No. (Required by li U.S.C. § ill).)
If the bankruptcy petition preparer is not on individuol, slate the ncrne, title (ifony), address and social security number of the ojicer, principal
responsible person, or partner who signs the document

 

 

Signature of Bankruptcy Petition Preparer Date

Names and Social Security numbers of all other individuals who prepared or assisted in preparing this document unless the bankruptcy petition preparer
is not an individual:

If more than one person prepared this documentl attach additional signed sheets conforming to the appropriate Oj'iciol Forrnjor each person.

A bankruptcy petition preparer's failure to comply with the provision of title 11 and the Fedemi Rr.-ies of Bankrup:t;v Procedure may result injr`nes or
imprisonment or both ll U.S.C. § IIU,' 18 U.S.C. § 156.

 

DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPOR_ATION OR PARTNERSHIP

I, the CEO (the president or other officer or an authorized agent of the corporation or a

 

member or an authorized agent of the partnershjp) of the Hampton Transportation Ventures, lnc.

(corporation or partnership) named as debtor in this case, declare under penalty of perjury that I have read the foregoing summary and
schedules, consisting of 19 sheets (iotol shown on summary page plus I), and that they are true and correct to the best of my
knowledge, information, and belief.

Date: September 8, 2015 Signature: /s/ Wiiir'am Schooiman

Wi|liam Schooiman
(Print or type name oi` individual signing on behalfofdebtor)

[An individual signing on behalfofo partnership or corporation must indicate position or relationship to debtor.]

Penaltyfor making a_falsc statement or concealing properrv: Fine of up to $500,000 or imprisonment for up to 5 years or bodr. 18 U.S.C. §§ 152 and 3571.

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B'i (Official Form 7) (04/13)

United States Bankruptcy Court
Eastern District of New York

IN RE: Case No.

 

Hampton Transportation Ventures, lnc. Chapter 11
chtor(s)

STATEMENT OF FINANCIAL AFFAIRS

This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which the information for both spouses
is combined. lf the case is filed under chapter 12 or chapter 13, a married debtor must furnish information for both spouses whether or not a joint petition
is filed, unless the spouses are separated and a joint petition is not filed. An individual debtor engaged in business as a sole proprietor, partner, family
farmer. or self-employed professional. should provide the information requested on this statement concerning all such activities as well as the individuals
personal affairs. To indicate payments, transfers and the like to minor children, State the child's initials and the name and address of the child's parent or
guardian, such as “A.B.. a minor child, by John Doe. guardian." Do not disclose the child's name. See, ll U.S.C. §1 12 and Fed. R. Bankr. P. 1007(m).

Qucstions l - 18 are to be completed by all debtors. Debtors that are or have been in business. as defined below, also must complete Questions 19 -
25. If the answer to an applicable question is "None," mark the box labeled "None." If additional space is needed for the answer to any question,
use and attach a separate sheet properly identified with the case name. case number (iflcnown). and the number of the question.

DEFINITIONS

"In business " A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An individual debtor is "in business"
for the purpose of this form if the debtor is or has been. within six years immediately preceding the filing of this bankruptcy case. any of the following:
an officer. director, managing executive, or owner of 5 percent or more of the voting or equity securities of a corporation; a partner. other than a limited
partner. of a partnership; a sole proprietor or self-employed full-time or part-time. An individual debtor also may be “in business" for the purpose of this
form if the debtor engages in a trade, business. or other activity. other than as an employee. to supplement income from the debtor’s primary employment

"Insider. ” The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and their relatives; corporations of
which the debtor is an ofiicer. director. or person in control; officers. directors. and any persons in control of a corporate debtor and their relatives;
affiliates of the debtor and insiders of such aiiiliates; any managing agent of the debtor. ll U.S.C. § 101(2),(31).

 

1. Income from employment or operation of business

N°“° State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the debtor's business,

|:l including part-time activities either as an employee or in independent trade or business, from the beginning of this calendar year to the date this
case was commencedl State also the gross amounts received during the two years innnediately preceding this calendar year. (A debtor that
maintains, or has maintained financial records on the basis of a fiscal rather than a calendar year may report fiscal year income. Identif`y the
beginning and ending dates of the debtor's fiscal year.) If a joint petition is filed, state income for each spouse separately. (Married debtors filing
under chapter 12 or chapter 13 must state income of both spouses whether or not a joint petition is iiled, unless the spouses are separated and a
joint petition is not filed.)

AMOUNT SOURCE
2,200,632.00 2013 Gross lneome

1,837,035.00 2014 Gross |ncorne
595.358.13 2015 YTD Gross lncome

2. Income other than from employment or operation of business

N°““ State the amount of income received by the debtor other than from employment trade. profession, operation of the debtor’s business during the

M two years immediately preceding the commencement of this case. Give particulars If a joint petition is filed. state income for each spouse
separately. (Married debtors filing under chapter 12 or chapter 13 must state income for each spouse whether or not a joint petition is filed, unless
the spouses are separated and a joint petition is not filed.)

3. Payments to creditors
Complete o. or b., as appropriate, and c.

N°“‘ a. lndividual or jo int debtor(s) with primarily consumer debts: List all payments on loans, instalh'nent purchases of goods or services, and other

g debts to any creditor made within 90 days immediately preceding the commenceth of this case unless the aggregate value of all property that
constitutes or is affected by such transfer is less than 5600. lndicate with an astelisk (*) any payments that were made to a creditor on account of
a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit budgeting and credit
counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses whether or not a joint
petition is filed, unless the spouses are separated and a joint petition is not iiled.)

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N°“° b. Debtcr whose debts ore nor primarily consumer debts.' List each payment or other transfer to any creditor mode within 90 days irmnediately

g preceding the commencement of the case unless the aggregate value of` all property that constitutes or is affected by such transfer is less than
$6,255.* If the debtor is an individual, indicate with an asterisk (*) any payments that were made to a creditor on account cfa domestic support
obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit budgeting and credit counseling agency. (Married
debtors filing under chapter 12 or chapter 13 must include payments and other transfers by either or both spouses whether or not a joint petition
is filed. unless the spouses are separated and a joint petition is not filed.)

* Amount subject to adjustment on 4/0]/] 6, andeve)jy threeyears thereafter with respect to cases commenced on or after the date ofadjustmem.

N"”° c. All debtors: List all payments made within one year immediately preceding the commencement of this case to or for the benefit of creditors
g who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses whether or not
a joint petition is filed, unless the spouses are Separated and a joint petition is not filed.)

4. Suits and administrative proceedings, executions, garnishments and attachments

N““* a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding the filing of this
bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or
not a joint petition is filed. unless the spouses are separated and a joint petition is not filed.)

CAPTION OF SUIT COURT OR AGENCY STATUS OR
AND CASE NUMBER NATURE OF PROCEEDING AND LOCATION DISPOSITION
pending

Hampton Transportation
Ventures, lnc. v. JD
Transportation

SY Bus Advertlsing v. Hampton pending
Transportation Ventures. lnc.

and Hampton Luxury Liner

Advertising LLC.

KCP Advisory Group LLC. v. Unpaid Fees Amarican Arbitration Association Pending
Hampton Transportation

Ventures, |nc., et al .

Case No.: 01 -15-0004-6849

N°“'= b. Describe all property that has been attached. garnished or seized under any legal or equitable process within one year immediately preceding
the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either
or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

5. Repossessions, foreclosures and returns
N""‘ List all property that has been repossessed by a creditor. sold at a foreclosure sale_. transferred through a deed in lieu of foreclosure or returned to
the seller. within one year immediately preceding the commencement of` this case. (Married debtors filing under chapter 12 or chapter 13 must
include information concerning property of either or both spouses whether or not a joint petition is filed. unless the spouses are separated and a
joint petition is not filed.)

6. Assignments_ and receiverships
N°"° a. Describe any assignment of` property for the benefit of creditors made within 120 days immediately preceding the commencement of this case.
M (Married debtors filing under chapter 12 or chapter 1 3 must include any assignment by either or both spouses whether or not a joint petition is filed,
unless the spouses are separated and joint petition is not filed.)

N°“e b. List all property which has been in the hands cfa custodian. receiver. or court-appointed official within one year immediately preceding the
commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either or both
spouses whether or not a joint petition is filed. unless the spouses are separated and a joint petition is not filed,)

7. Gifts
N°“'-‘ List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except ordinary and usual
g gifts to farnin members aggregating less than $200 in value per individual family member and charitable contributions aggregating less than $ 100
per recipient (Married debtors filing under chapter 12 or chapter 13 must include gifts or contributions by either or both spouses whether or not
a joint petition is filed. unless the spouses are separated and a joint petition is not filed.)

8. Losses
N°“’ List all losses from fire1 theft. other casualty or gambling within one year immediately preceding the commencement of this case or since the
commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both spouses whether or not
a joint petition is iiled. unless the spouses are separated and a joint petition is not filed.)

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9. Payments related to debt counseling or bankruptcy

N°"E List all payments made or property transferred by or on behalf of the debtor to any persons, including attomeys. for consultation concerning debt
consolidation. relief under the bankruptcy law or preparation of a petition in bankruptcy within one year immediately preceding the commencement

of this case.
DATE OF PAYMENT. NAME OF AMOU`N`T OF MON'EY OR DESCRIPTION
NAME AND ADDRESS OF PAYEE PAYOR IF OTHER THAN DEBTOR AND VALUE OF PROPERTY
Michael G. Mc Au|lffe, Esq. August 25, 2015 25,000.00

68 South Service Rd. Suite 100
Me|vil|e, NY 11747-0000

10. Other transfers

N""'= a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor, transferred either
M absolutely or as security within two years immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or
chapter 13 must include transfers by either or both spouses whether or not a joint petition is iiled, unless the spouses are separated and a joint

petition is not filed.)

N"“= b. List all property transferred by the debtor within ten years inunediately preceding the commencement of this case to a self-settled trustor similar
M device of which the debtor is a beneficiary

ll. Closetl Hnancial accounts

N""‘ List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor Which were closed, sold, or otherwise
g transferred within one year immediately preceding the commencement of this case. lnclude checking, savings, or other financial accounts,
certificates of deposit, or other instruments; shares and share accounts held in banks, credit unions, pension funds, cooperatives, associations,
brokerage houses and other financial institutions (Married debtors filing under chapter 12 or chapter 13 must include information concerning
accounts or instruments held by or for either or both spouses whether or not a joint petition is filed. unless the spouses are separated and a joint

petition is not filed.)

12. Safe deposit boxes

N"“E List each safe deposit or other box or depository in which the debtor has or had securities. cash. or other valuables within one year immediately
preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include boxes or depositories of either or
both spouses whether or not a joint petition is filed. unless the spouses are separated and a joint petition is not filed.)

13. Setoffs

N°“'-‘ List all setoffs made by any creditor. including a bank. against a debt or deposit of the debtor within 90 days preceding the commencement of this
g case. UVIarried debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or not a joint
petition is filed, unless the spouses are separated and a joint petition is not iiled.)

14. Property held for another person
N°”= List all property owned by another person that the debtor holds or controls.

lS. Prior address of debtor

N°"‘" Ifdebtorhas moved within three years immediately preceding the commencement of this case, list all premises which the debtor occupied during
that period and vacated prior to the commencement of this case. lf a joint petition is filed, report also any separate address of either spouse.

16. Spouses and Former Spouses

N°"° If the debtor resides or resided in a community property state, commonwealth, or territory(including Alaska, Arizona, Califomia, Idaho, Louisiana,
g Nevada, New Mexico, Puer|:o Rico. Texas, Washington. or Wisconsin) within eight years immediately preceding the commencement of the case,
identify the name of the debtor’s spouse and of any fenner spouse who resides or resided with the debtor in the community property state.

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17. Environmental Information
For the purpose of this question, the following definitions apply:

“Environmental Law" means any federal. state, or local statute or regulation regulating pollution. contamination. releases of hazardous or toxic substances,
wastes or material into the air, land, soil. surface water_, groundwater. or other mediumr including, but not limited to, statutes or regulations regulating

the cleanup of these substances wastes or material.

“Site” means any location. facility. or property as defined under any Environmental Law, whether or not presently or formerly owned or operated by the
debtor. including. but not limited to. disposal sites.

“Hazardous Material” means anything defined as a hazardous waste. hazardous substance. toxic substance. hazardous material, pollutant, or contaminant
or similar term under an Environmental Law.

N""= a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be liable or
g potentially liable under or in violation of an Environmental Law. Indicate the governmental unit. the date of the notice. and, if known. the

Environmental Law.

N°“‘ b. List the name and address of every site for which the debtor provided notice to a governmental unit ofa release ofHazardous Material. Indicate
the governmental unit to which the notice was sent and the date of the notice.

N‘"'° c. List all judicial or administrative proceedings. including settlements or orders, under any Environmental Law with respect to which the debtor
is or was a party. Indicate the name and address of the governmean unit that is or was a party to the proceeding, and the docket number.

18. Nature, location and name of business

N""° a. ifthe debtor is on individuol. list the names, addresses. taxpayer-identification numbers. nature of the businesses. and beginning and ending dates
g of all businesses in which the debtor was an officer, director. partner. or managing executive of a corporation, partner in a partnership, sole
proprietor, or was self-employed in a trade, profession. or other activity either full- or part-time within six years immediately preceding the
commencement of this case. or in which the debtor owned 5 percent or more of` the voting or equity securities within six years immediately
preceding the commencement of this case.
[f the debtor is o yr;n:irtnershipq list the names. addresses, taxpayer identification numbers. nature of the businesses. and beginning and ending dates
of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities, within six years immediately
preceding the commencement of this case.
If the debtor is o corporation, list the names. addresses, taxpayer identification numbers. nature of the businesses, and beginning and ending dates
of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities within six years immediately
preceding the commencement of this case.

N""° b. Identify any business listed in response to subdivision a., above1 that is “single asset real estatc" as defined in ll U.S.C. § 101.

The following questions are to be completed by every debtor that is a corporation or partnership and by any individual debtor who is or has been, within
six years immediately preceding the commencement of this case, any of the following: an officer. director, managing executive, or owner of more than
5 percent of the voting or equity securities of a corporation; a partner. other than a limited partner, of a partnership, a sole proprietor, or self-employed
in a trade, profession, or other activity. either fiill- or part-time.

(An individual or joint debtor should complete this portion of the statement only ifthe debtor is or has been in business, as defined above, within the six
vears immediately preceding the commencement of this cose. A debtor who has not been in business within those six years should go directly to the

19. Books, records and financial statements
N"”” a. List all bookkeepers and accountants who within the two years immediately preceding the filing of this bankruptcy case kept or supervised the
keeping of` books of account and records of the debtor.
NAME AND ADDRESS DATES SERVICES RENDERED
Cerini & Associates
Eric Langmack
Linda Fieseler

N°“‘-‘ b. List all firms or individuals who within the two years immediately preceding the filing of this bankruptcy case have audited the books of account
and records, or prepared a financial statement of the debtor.

N“”° c. List all firms or individuals who at the time of the commencement of this case Were in possession of the books of account and records of the
g debtor. If any of the books of account and records are not available, explain.

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N°“‘= d. List all financial institutions creditors, and Otherparties, including mercantile and trade agencies. to whom a financial statement was issued by
|:l the debtor within the two years immediater preceding the commencement of this case.

NAME AND ADDRESS DATE ISSUED
Sma|| Business Adminstration June 30, 2015
Big Shoulders Capital. LLC. June 30l 2015

105 Revere Drive, Suite D
Northbrook, lL 60062

ACM Riverhead, LLC. June 30, 2015
Trax_|nsurance June 30, 2015
Northvi|le |ndustries June 30, 2015

20. Inventories

N°“‘ a. List the dates of the last two inventories taken of your property, the name of the person who supervised the taking of each inventory. and the
dollar amount and basis of` each inventory.

N“” b. List the name and address of the person having possession of the records of each of the two inventories reported in a., ahove.

21. Current Partners, Oi`iicers, Directors and Shareholders
N°“= a. If` the debtor is a partnership, list the nature and percentage of partnership interest of each member of the partnership.

NAME AND ADDRESS NATUR_E OF INTEREST PERCENTAGE OF INTEREST
Wi|liam Schoo|man CEO 100.000000
1600 Locust Ave

Bohemia, NY 11716-0000

N°"’ b. If` the debtor is a corporation. list all officers and directors of the corporation, and each stockholder who directly or indirectly owns_. controls,
or holds 5 percent or more ofthe voting or equity securities of the corporation.

22. Former partners, oflicers, directors and shareholders

"°"= a. If the debtor is a partnership. list each member who withdrew from the partnership within one year immediately preceding the commencement
of this case.

N°"° b. If` the debtor is a corporation, list all officers. or directors whose relationship with the corporation terminated within one year immediately
preceding the commencement of this case.

23. Withdrawals from a partnership or distributions by a corporation

N°”' If` the debtor is apartnership or corporation. list all withdrawals or distributions credited or given to an insider, including compensation in any form.
g bonuses, loans. stock redemptions. options exercised and any other perquisite during one year immediately preceding the commencement of` this
case.

24. Tax Consolidation Group

N°"“ If the debtor is a corporation1 list the name and federal taxpayer identification number ofthe parent corporation of any consolidated group for tax
purposes of which the debtor has been a member at any time within six years immediately preceding the commencement of the case.

25. Pension Funds.

N°"‘= If` the debtor is not an individual. list the name and federal taxpayer identification number of` any pension fund to which the debtor, as an employer,
M has been responsible for contributing at any time within six years immediately preceding the commencement of` the case.

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[lY completed on behalf of o partnership or corporation]

I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any attachments
thereto and that they are true and correct to the best of my knowledge, information, and belief.

Date: S_eptember 8, 2015 Signature: /s/ Wiltiam Schooiman

Wi|liam Schoo|man. CEO

Print Name and Title

[An individual signing on behalf cfa partnership or corporation must indicate position or relationship to debtor.]

0 continuation pages attached

Penolty for making afo!se statement Fine of up to $500, 000 or imprisonment for up to 5 years or both. 18 U.S. C. § 152 and 35 71 .

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United States Bankruptcy Court
Eastern District of New York

 

 

 

IN RE: Case No.
Hampton Transportatlon Vonturesl lnc. Chapter 11
Debtor(s)

DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

l. Pursuant to l l U.S.C. § 329(a) and Bankruptcy Rule 2016(b), l certify that t am the anomey for the above-named debtor(s) and that compensation paid to me within
one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to be rendered on behalf of the debtor(s) in contemplation
of or in connection with the bankruptcy case is as follows:

For legal services, I have agreed to accept ............................................................................ $ 251000-00

Prior to the filing of this statement I have received .................................................................. $ 25,000-°0
Ba|ance Due ..................................................................................................

2. The source of the compensation paid to me was: MDebtor m Other (specify):

3. The source of` compensation to be paid to me is: m Debtor l:l Other (specify):

4. M I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of` my law firm.

l:l l have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law tinn. A copy cf the agreement
together with a list of the names of the people sharing in the compensation, is attached

5. In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including.'
Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
Represenlation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;

 

svz-“-.r=_c':»

[Other provisions as needed]

6. By agreement with the debtor(s), the above disclosed fee does not include the following services:

 

CERTIFICATION

l certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in this bankruptcy
proceeding

 

 

September 8, 2015 /s/ Mtchaet G. Mc Autiffe
Date Mlchae| G. Mc Aul|fl‘e New York
Mi¢:hae| Mc Aullffl
68 south service Rd. sum 100

Me|vil|e, N¥ 11741
(631) 465-0044 Fax: (631) 465-0045
mgmlaw@optonllne.net

 

 

 

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FB 201A (Fm-m 201A) (06/14)
UNITED STATES BANKRUPTCY COURT

NOTICE To CONSUMER DEBTOR(s) UNDER §342(b)
or THE BANKRUPTCY conn

ln accordance with § 342(b) of the Bankruptcy Code, this notice to individuals with primarily consumer debts: (1)
Describes briefly the services available from credit counseling services; (2) Describes briefly the purposes, benefits and
costs of` the four types of bankruptcy proceedings you may commence; and (3) lnforms you about bankruptcy crimes and
notifies you that the Attorney General may examine all information you supply in connection with a bankruptcy case.

You are cautioned that bankruptcy law is complicated and not easily described. Thus, you may wish to seek the
advice of an attorney to learn of your rights and responsibilities should you decide to file a petition. Court employees
cannot give you legal advice.

Notices from the bankruptcy court are sent to the mailing address you list on your bankruptcy petition. In order to
ensure that you receive information about events concerning your case, Bankruptcy Rule 4002 requires that you notify the
court of any changes in your address. If you are filing a joint case (a single bankruptcy case for two individuals married to
each other}, and each spouse lists the same mailing address on the bankruptcy petition, you and your spouse will generally
receive a single copy of each notice mailed from the bankruptcy court in a jointly-addressed envelope, unless you file a
statement with the court requesting that each spouse receive a separate copy of all notices.

1. Services Available from Credit Counseling Agencies

With limited exceptions, § 109(h) of the Bankruptcy Code requires that all individual debtors who file for
bankruptcy relief on or after October 17, 2005, receive a briefing that outlines the available opportunities for
credit counseling and provides assistance in performing a budget analysis. The briefing must be given within 180
days before the bankruptcy filing The briefing may be provided individually or in a group (including briefings conducted
by telephone or on the Internet) and must be provided by a nonprofit budget and credit counseling agency approved by the
United States trustee or bankruptcy administrator. The clerk of the bankruptcy court has a list that you may consult of the
approved budget and credit counseling agencies. Each debtor in a joint case must complete the briefing

 

In addition, after filing a bankruptcy case, an individual debtor generally must complete a financial
management instructional course before he or she can receive a discharge. The clerk also has a list of approved
financial management instructional courses. Each debtor in a joint case must complete the course.

2. The Four Chapters of the Bankruptcy Code Available to Individual Consumer Dehtors

Chapter 7 : Liquidation ($245 filing fee, $75 administrative fee, $15 trustee surcharge: Total fee $335)

Chapter 7 is designed for debtors in financial difficulty who do not have the ability to pay their existing debts.
Debtors whose debts are primarily consumer debts are subject to a “means test” designed to determine whether the case
should be permitted to proceed under chapter 7. Ifyour income is greater than the median income for your state of
residence and family size, in some cases, the United States trustee (or bankruptcy administrator), the trustee, or creditors
have the right to file a motion requesting that the court dismiss your case under § 707(b) of the Code. It is up to the court
to decide whether the case should be dismissed.

Under chapter 7, you may claim certain of your property as exempt under governing law. A trustee may have the
right to take possession of and sell the remaining property that is not exempt and use the sale proceeds to pay your
creditors.

The purpose of filing a chapter 7 case is to obtain a discharge of your existing debts. If, however, you are found to
have committed certain kinds of improper conduct described in the Bankruptcy Code, the court may deny your

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Forrn B 20|A. Notice to Consumer Debtor(s) Page 2

discharge and, if it does, the purpose for which you died the bankruptcy petition will be defeated.

Even if you receive a general discharge, some particular debts are not discharged under the law. Therefore, you
may still be responsible for most taxes and student loans; debts incurred to pay nondischargeable taxes; domestic support
and property settlement obligations; most fines, penalties, forfeitures, and criminal restitution obligations; certain debts
which are not properly listed in your bankruptcy papers; and debts for death or personal injury caused by operating a
motor vehicle, vessel, or aircraft while intoxicated from alcohol or drugs. Also, if a creditor can prove that a debt arose
from fraud, breach of fiduciary duty, or thef°t, or from a willful and malicious injury, the bankruptcy court may determine

that the debt is not discharged

Chapter 13: Repayment of All or Part of the Debts of an Individual with Regular Income ($235 filing fee,
$75 administrative fee: Total fee $310)

Chapter 13 is designed for individuals with regular income who would like to pay all or part of their debts in
installments over a period of` time. You are only eligible for chapter 13 if your debts do not exceed certain dollar amounts
set forth in the Bankruptcy Code.

Under chapter 13, you must file with the court a plan to repay your creditors all or part of the money that you owe
them, using your future earnings The period allowed by the court to repay your debts may be three years or five years,
depending upon your income and other factors. The court must approve your plan before it can take effect

Af`ter completing the payments under your plan, your debts are generally discharged except for domestic support
obligations; most student loans; certain taxes; most criminal fines and restitution obligations; certain debts which are not
properly listed in your bankruptcy papers; certain debts for acts that caused death or personal injury; and certain long term
secured obligations

Chapter 11: Reorganization ($1167 filing fee, $550 administrative fee: Total fee $1717)
Chapter 11 is designed for the reorganization of a business but is also available to consumer debtors. Its
provisions are quite complicated, and any decision by an individual to file a chapter 11 petition should be reviewed with

an attorney.

Chapter 12: Fami]y Farmer or Fisherman ($200 filing fee, $75 administrative fee: Total fee $275)

Chapter 12 is designed to permit family farmers and Eshermen to repay their debts over a period of time from
future earnings and is similar to chapter 13. The eligibility requirements are restrictive, limiting its use to those whose
income arises primarily from a family-owned farm or commercial fishing operation.

3. Bankruptcy Crimes and Availabilitv of Bankruptcy Papers to Law Enforcement Ofiicials

A person who knowingly and fraudulently conceals assets or makes a false oath or statement under penalty of
perjury, either orally or in writing, in connection with a bankruptcy case is subject to a fine, imprisonment, or both. All
information supplied by a debtor in connection with a bankruptcy case is subject to examination by the Attorney General
acting through the Office of the United States Trustee, the Office of the United States Attorney, and other components and

employees of the Department of Justice.

WARNING: Section 521(a)(l) of the Bankruptcy Code requires that you promptly file detailed information regarding
your creditors, assets, liabilities, income, expenses and general financial condition. Your bankruptcy case may be
dismissed if` this information is not filed with the court within the time deadlines set by the Bankruptcy Code, the
Bankruptcy Rules, and the local rules of` the court. The documents and the deadlines for filing them are listed on Forrn

B200, which is posted at hgp://www.uscourts.gov/bkforms/bankruptcy forms.htmlt_¢procedure.

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United States Bankruptcy Court
Eastern District of New York

 

 

 

IN RE: Case No.
Hampton Transporl:at|on Ventures, lnc. Chapter 11
Debtor'(s)

VER.IFICATION OF CREDITOR MATRIX

The above named debtor(s) or attorney for the debtor(s) hereby verify that the attached matrix (ljst of creditors) is true and
correct to the best of their knowledge,

Date: September 8, 2015 /s/ Wr'”iam Schooiman
Debtor

 

Joint Debtor

/s/ Ml'chael G. Mc Aul'iffe
Attomey for Debtor

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1600 LOCUST AVENUE ASSOCIATES INC
1600 LOCUST AVENUE
BOHEMIA NY 11716

TBUS
1600 LOCUST AVE
BOHEMIA NY 11716

ACM RIVERHEAD V LLC
780 THIRD AVE 27TH FLOOR
NEW YORK NY 10017

ACME AUTO RADIATOR & GLASS
49 CARLETON AVE
ISLIP TERRACE NY 11752

ACTION TIRE RETREADERS
40 BROOK AVE
DEER PARK NY 11729

AMERICAN AGIP CO INC
WESTBURY BRANCH

PO BOX 7247-6989
PHILADELPHIA PA 19170-6989

AMERICAN TELEPHONE COMPANY
PO BOX 1465
MELVILLE NY 11747

ATLANTIC CITY TRANSPORT CORP
1501 N ALBANY AVE
ATLANTIC CITY NJ 08401

BANK OF AMERICA
PO BOX 15796
WILMINGTON DE 19886

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BETTER OPTIONS FOR LIVABLE TRANSIT LLC
1600 LOCUST AVE
BOHEMIA NY 11716

BIG SHOULDERS CAPITAL LLC
105 REVERE DRIVE SUITE D
NORTHBROOK IL 60062

BRIDGESTONE/FIRESTONE
70249 NETWROK PLACE
CHICAGO IL 60673-0249

BRUNOS AUTOMOTIVE
945 MIDDLE COUNTRY RD
ST JAMES NY 11780

CAMEROTA TRUCK PARTS
245 SHAKER ROAD PO BOX 1134
ENFIELD CT 06083

COACH MAINTENANCE SERVICES INC
6 OSCAR STREET
BAYSHORE NY 11706

COACH TRANSIT COMPONENTS
103 SOUTH NASHVILLE AVE
ORLANDO FL 32805

CURVED GLASS DISTRIBUTORS
72 CHAPEL ST
DERBY CT 06418

CXT HEAVY COLLISION & RECOVERY INC
99 BEAVERDAM ROAD
BELLPORT NY 11713

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EAGLE WIRELESS COMMUNICATION
15 WINDSPR PASS SUITE 1
HORSHAM PA 19044

GABRIELLI TRUCK SALES LTD
3200 HORSEBLOCK ROAD
MEDFORD NY 11763

GRAINGER
DEPT 817229479
PALATINE IL 60038-0001

HAMPTON LUXURY LINER ADVERTISING LLC
1600 LOCUST AVE
BOHEMIA NY 11716

HUNTINGTON BRAKE & EQUIPMENT
179 HERRICKS ROAD
GARDEN CITY PARK NY 11040

JJ KELLER & ASSOCIATES
PO BOX 6609
CAROL STREAM IL 60197

KCP ADVISORY GROUP

C/O LEVENFELD PEARLSTEIN LLC

2 NORTH LASALLE STREET SUITE 1300
CHICAGO IL 60602

LONG ISLAND HARDWARE
4155 VETERANS HIGHWAY SUITE 9
RONKONKOMA NY 11779

LOYAL BUSINESS MACHINES
980 SUNRISE HIGHWAY
WEST BABYLON NY 11704

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MB FINANCIAL BANK
6111 NORTH RIVER ROAD
ROSEMONT IL 60018

METRO LUBE
229 ARLINGTON AVE
STATEN ISLAND NY` 10303

MID-ISLAND MEDICAL CENTER
3279 VETERANS MEMORIAL HIGHWAY SUITE 5
RONKONKOMA NY 11779

NATIONAL INTERSTATE INSURANCE COMPANY
3250 INTERSTATE DRIVE
RICHFIELD OH 44286

NEW HORIZON COMMUNICATION CORP
PO BOX 981073
BOSTON MA 02298

NEW YORK BUSINESS DEVELOPMENT CORP
50 BEAVER STREET
ALBANY NY 12207

NEWSDAY MEDIA GROUP
235 PINELAWN ROAD
MELVILLE NY 11747

NIC HOLDING CORP
25 MELVILLE PARK ROAD
MELVILLE NY 11747

NORTHEAST AUTOMOTIVE EQUIPMENT SERVICE
80 PAULS PATH
CORAM NY 11727

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OPTEL BUSINESS COMMUNICATIONS
PO BOX 180
NESCONSET NY 11767

PLANET EARTH RECYCLING
3280 SUNRISE HWY #303
WANTAGH NY 11793

RALLY BUS
65 EAST 55TH STREET 23RD FLOOR
NEW YORK NY 10022

SAILON AUTO ELECTRIC
106 UNDERHILL BLVD
SYOSSET NY 11791

SCHOOLMAN TRANSPORTATION SYSTEM INC
1600 LOCUST AVE
BOHEMIA NY 11716

SHOPSERVE INC
26 CARRINGTON DR
EAST NORTHPORT NY 11731

SMALL BUSINESS ADMINISTRATION
409 3RD ST SW
WASHINGTON DC 20416

SPRINT
PO BOX 888
HICKSVILLE NY 11802-0888

THE HUDSON GROUP
360 MERRIMACK STREET BLDG 9 2ND FLOOR
LAWRENCE MA 01843

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THE PARTS AUTHORITY
1385 LAKELAND AVE
BOHEMIA NY 11716

TRANSLITE ENTERPRISES INC
107 TRUMBULL STREET K BUILDING
ELIZABETH NJ 07206

UNIFIRST CORPORATION
50 CARNATION AVE BLDG 5
FLORAL PARK NY 10010

VAN BUREN AUTOMOTIVE TRANSMISSION WORKS
10 INDUSTRIAL BLVD
MEDFORD NY 11763

VERIZON
PO BOX 408
NEWARK NJ 07101

VILLAGE OFFICE SUPPLY
600 APGAR DRIVE
SOMERSET NJ 08873

WILLIAM SCHOOLMAN
1600 LOCUST AVE
BOHEMIA NY 11716~0000

WILLIAM SCHOOLMAN
1600 LOCUST AVE
BOHEMIA NY 11716

WORLD INFORMATION SYSTEM
624-F GUILFORD COLLEGE RD
GREENSBORO NC 27409

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WORLD INFORMATION SYSTEMS LLC
624-F GUILFORD COLLEGE ROAD
GREENSBORO NC 27409

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BZOIB (Form 2013](12/'09)

United States Bankruptcy Court
Eastern District of New York

 

 

 

IN RE: Case No.
Hamgton Transgortation Ventures, lnc. Chapter 11
Debtor(s)

CERTIFICATION OF NOTICE TO CONSUMER DEBTOR(S)
UNDER § 342(b) OF THE BANKRUPTCY CODE

Certiiicate of [Non-Attorney] Bankruptcy Petition Preparer

I, the [non-attorney] bankruptcy petition preparer signing the debtor’s petition, hereby certify that I delivered to the debtor the attached
notice, as required by § 342(b) of the Bankruptcy Code.

 

Printed Name and title, if' any, of Bankruptcy Petition Preparer Social Security number (If the bankruptcy
Address: petition preparer is not a.n individual, state

the Social Security number of the officer,
principal, responsible person, or partner of
the bankruptcy petition preparer.)

x (Required by ll U.S.C. § 110.)

Sig~nature of` Bankruptcy Petition Preparer of officer, principal, responsible person, or

partner whose Social Security number is provided above.

 

Certiiicate of the Debtor

I (We), the debtor(s), affirm that I (we) have received and read the attached notice, as required by § 342(b) of the Bankruptcy Code.

 

 

 

 

Hampton Transportation Ventures, lnc. X /s/ Wimam Schooiman 9108|'2015
Printed Name(s) of Debtor(s) Signature of Debtor Date
Case No. (if' known) X _

Signature of Joint Debtor (if` any) Date

 

lnstructions: Attach a copy of Forrn B 201A, Notice to Consumer Debtor(s) Under § 342(b) of the Bankruptcy Code.

Use this form to certify that the debtor has received the notice required by 11 U.S.C. § 342(b) only if the certification has
NOT been made on the Voluntary Petition, Ofiicial Forrn B 1. Exhibit B on page 2 of Form Bl contains a certification by the debtor’s
attorney that the attorney has given the notice to the debtor. The Declarations made by debtors and bankruptcy petition preparers on

page 3 of Form Bl also include this certification

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United States Bankruptcy Court
Eastern District of New York
www.nyeb.uscourts.gov

sTATEMENT PURSUANT To LocAL
BANKRUPTCY RULE 1073-2(b)

DEBTOR(S): Hampton Transportation Ventnres, Inc. CASENO.:

 

Pursuant to Local Bankruptcy Rule 1073-2(b), the debtor (or any other petitioned hereby makes the following
disclosure concerning Related Cases, to the petitioner’s best knowledge, information and belief:

[NOTE: Cases shall be deemed “Related Cases” for purposes of E.D.N.Y. LBR 1073-1 and E.D.N.Y. LBR 1073-2 if the earlier
case was pending at any time within eight years before the filing of the new petition, and the debtors in such cases: (i) are the
same; (ii) are spouses or ex-sponses; (iii) are affiliates, as defined in 11 U.S.C. § 101(2); (iv) are general partners in the same
partnership; (v) are a partnership and one or more of its general partners; (vi) are partnerships which share one or more
common general partners; or (vii) have, or within 180 days of the commencement of either of the Related Cases had, an
interest in property that was or is included in the property of another estate under 11 U.S.C. § 541(a).]

g NO RELATED CASE IS PENDING OR I-IAS BEEN PEND[NG AT ANY TIME.
|:| THE FOLLOWING RELATED CASE(S) IS PEND[NG OR HAS BEEN PENDING:

1. CASE NO.: JUDGE: ` DISTRICT/DIVISION:
CASE STILL PENDING {Y/N]: [l_’fclosed] Date of closing:
CURRENT STATUS OF RELATED CASE:

 

(Discharged./awaiting discharge, confirmed, dismissed, etc.)
MANNER IN WHICH CASES ARE RELATED (Refer to NOTE above):
REAL PROPERTY LISTED IN DEBTOR’S SCHEDULE “A” (“REAL PROPERTY”) WHICH WAS ALSO LISTED IN
SCHEDULE “A” OF RELATED CASE:

 

 

 

2. CASE NO.: JUDGE: DISTRICT/DIVISION:

CASE STILL PENDING (Y/N): [Ifclosed] Date of closing:
CURRENT STATUS OF RELATED CASE:

 

(Discharged/awaiting discharge, confirmed, dismissed, etc.)
MANNER IN WHICH CASES ARE RELATED (Refer to NOTE above):
REAL PROPERTY LISTED IN DEBTOR’S SCHEDULE “A” (“REAL PROPERTY”) WHICH WAS ALSO LISTED IN
SCHEDULE “A” OF RELATED CASE:

 

 

 

3. CASE NO.: JUDGE: DIS'I`RICT/DIVISION:
CASE STILL PENDING (YIN): [l_'fclosed] Date of closing:
CURRENT STATUS OF RELATED CASE:

 

(Discharged/awaiting discharge, confirmed, dismissed, etc.)
MANNER IN WHICH CASES ARE RELATED (Refer to NOTE above):
REAL PROPERTY LISTED IN DEBTOR’S SCHEDULE “A” (“REAL PROPERTY”) WHICH WAS ALSO LISTED IN
SCHEDULE “A” OF RELATED CASE:

 

 

 

NOTE: Pursuant to 11 U.S.C. § 109(g), certain individuals who have had prior cases dismissed within the preceding 180 days
may not be eligible to be debtors. Such an individual will be required to file a statement in support of his/her eligibility to file.

TO BE COMPLETED BY DEBTOR/PETITIONER'S ATTORNEY, AS APPLICABLE:

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DISCLOSURE OF RELATED CASES (eont’d)

I am admitted to practice in the Eastern District of New York (Y/N): Y
CERTIFICATION (to be signed by pro se debtor/petitioner or debtor/petitioner's attorney, as applicable):

I certify under penalty of perjury that the within bankruptcy case is not related to any case now pending or pending at any
time, except as indicated elsewhere on this form.

 

 

/s/ Michael G. Mc Auliffe /s;r William Schooiman
Signature of Debtor’s Attorney Signature of Pro Se Debtor/Petitioner
1600 Locust Avenue

 

Mailing Address of Debtor/Petitioner

Bohemia, NY 11716
City, State, Zip Code

 

Email Address

 

Area Code and Telephone Number

Failure to fully and truthfully provide all information required by the E.D.N.Y. LBR 1073-2 Statement may subject the debtor
or any other petitioner and their attorney to appropriate sanctions, including without limitation conversion, the appointment
of a trustee or the dismissal of the case with prejudice.

NOTE: Any change in address must be reported to the Court immediately IN WRITING. Dismissal of your petition may
otherwise result.

